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P|aintiff

VS.
CR. NO. 05-20006-D

CURT|S NATHAN|EL DOTSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursday, Ju|v 21. 2005. at 9:00 a.m., in Courtroom 3. ch F|oor of the
Federal Bui|ding, |V|emphis, TN.

The period from |V|ay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this if day of N|ay, 2005.

  

NlcE B.poNALD /

N|TED STATES D|STRICT JUDGE

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Thls document entered on the docket sheet ln compl a

b‘} FRCr'P Orl

with Rule 55 and/or 32{

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20006 Was distributed by faX, mail, or direct printing on

June 1, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

